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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                CRIMINAL MINUTES - SENTENCING AND JUDGMENT

 Case No.       CR 08-00458(A)-GAF-1                                                                 Date       October 19, 2009

 Present: The Honorable        GARY ALLEN FEESS, UNITED STATES DISTRICT JUDGE
              Renee Fisher                            Lisa Gonzalez                                             Sandy N. Leal
              Deputy Clerk                       Court Reporter/Recorder                                    Assistant U.S. Attorney

 Interpreter     Not Applicable

          U.S.A. v. Defendant(s):              Present      Cust.     Bond           Attorneys for Defendants:         Present   App.      Ret.

Eveyn Paleyo                                     /            /                 Philip P DeLuca                           /                 /
 PROCEEDINGS:               SENTENCING AND JUDGMENT HEARING                              G Contested          :      Non-Evidentiary
                            Day        (if continued from a prior hearing date)
    Refer to Judgment and Probation/Commitment Order; signed copy attached hereto.                        X Refer to separate Judgment Order.
    Imprisonment for Years/months             on each of counts
    Count(s)                                  concurrent/consecutive to count(s)
         Execution/Imposition of sentence as to imprisonment only suspended on count(s)
    Confined in jail-type institution for                                               to be served on consecutive days/weekends
         commencing
    years/months Supervised Release/Probation imposed on count(s)
    consecutive/concurrent to count(s)
    under the usual terms & conditions (see back of Judgment/Commitment Order) and the following additional terms and conditions, under
    the direction of the Probation Office:
         Perform                                            hours of community service.
         Serve                                              in a CCC/CTC.
         Pay             $                                  fine amounts & times determined by P/O.
         Make            $                                  restitution in amounts & times determined by P/O.
         Participate in a program for treatment of narcotic/alcohol addiction.
         Pay any fine imposed by this sentence & that remains unpaid at commencement of community supervision. Comply with
         rules/regulations of ICE, if deported not return to U.S.A. illegally and upon any reentry during period of supervision report to the
         nearest P/O within 72 hours.
         Other conditions:
    Pursuant to Section 5E1.2(e), all fines are waived, including costs of imprisonment & supervision. The Court finds the defendant does
    not have the ability to pay.
                                              per count, special assessment to the United States for a total
    Pay       $                               of                                                             $
    Imprisonment for months/years             and for a study pursuant to 18 USC
    with results to be furnished to the Court within        days/months                 whereupon the sentence shall be subject to
    modification. This matter is set for further hearing on
 X Government's motion, all remaining count(s)/underlying indictment/information, ordered dismissed.
 X Defendant informed that she has waived her right to appeal.
    ORDER sentencing transcript for Sentencing Commission.                    Processed statement of reasons.
    Bond exonerated                        upon surrender                     upon service of
    Execution of sentence is stayed until 12 noon,
    at which time the defendant shall surrender to the designated facility of the Bureau of Prisons, or, if no designation made, to the
    U.S. Marshal.
    Defendant ordered remanded to/released from custody of U.S. Marshal forthwith.
    Issued Remand/Release            #
    Present bond to continue as bond on appeal.                               Appeal bond set at      $
    Filed and distributed judgment. ENTERED.
 X Other It is recommended that the defendant be designated to a Southern California facility.
                                                                                                               00        :       42
                                                                              Initials of Deputy Clerk rf
cc:


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